978 F.2d 745
    298 U.S.App.D.C. 248
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNIVERSAL HEALTH SERVICES OF MCALLEN, INC., Appellantv.Louis W. SULLIVAN, M.D., Secretary of the Department ofHealth and Human Services
    No. 91-5320.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 27, 1992.
    
      Before RUTH BADER GINSBURG, STEPHEN F. WILLIAMS and KAREN LeCRAFT HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs and oral arguments of counsel.   The court is satisfied, after full review of the issue presented, that appropriate disposition of the appeal does not warrant a further opinion.   See D.C.Cir.Rule 14(c).   Substantially for the reasons stated by the district court in its published opinion,  Universal Health Servs, of McAllen, Inc. v. Sullivan, 770 F.Supp. 704, 715-19 (D.D.C.1991), it is,
    
    
      2
      ORDERED AND ADJUDGED, that the judgment from which this appeal has been taken be affirmed.
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15(b).
    
    